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                         Exhibit 1
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  Transcript of Keisha Simone
Henry, Designated Representative
                            Date: February 9, 2023
    Case: Scott -v- Washington Metropolitan Area Transit Authority




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                               Transcript of Keisha Simone Henry, Designated Representative                                 1 (1 to 4)

                                                      February 9, 2023
                                                               1                                                                         3

1          UNITED STATES DISTRICT CIRCUIT COURT                    1                        I N D E X
2               FOR THE DISTRICT OF COLUMBIA                       2                                                  Page
3    -------------------------X                                    3    Examination by Mr. Regan                        5
4    CAROL WILD SCOTT,                                             4
5              Plaintiff,                                          5
6              vs.                    Civil Action No.             6                     E X H I B I T S
7    WASHINGTON METROPOLITAN          22-cv-00601 (CRC)            7                        (Attached)
8    AREA TRANSIT AUTHORITY,                                       8    Number                                        Page
9              Defendant.                                          9    Exhibit 1      Amended Notice of 30(b)(6)       5
10 -------------------------X                                      10                  Deposition
11                                                                 11 Exhibit 2        Incident/Accident Report,        5
12                                                                 12                  9/23/19
13     30(b)(6) DEPOSITION OF KEISHA SIMONE HENRY                  13 Exhibit 3        Incident Report, 9/23/19         5
14                      Conducted Remotely                         14 Exhibit 4        E-Mail, Graves to WMATA          5
15                Thursday, February 9, 2023                       15                  WMSC Notification, 9/23/19
16                      1:10 p.m. Eastern                          16 Exhibit 5        Press Release, 3/4/19           5/31
17                                                                 17 Exhibit 6        Press Release, 6/19/19          5/38
18                                                                 18 Exhibit 7        E-Mail, 3/2/19, Bates            5
19                                                                 19                  No. WMATA000060
20 Job No.:    480571                                              20 Exhibit 8        Rail Signal Safety Updates      5/53
21 Pages 1 - 80                                                    21 Exhibit 9        Station Overrun Report,         5/57
22 Reported by:      Cynthia Powers                                22                  4/20/19




                                                               2                                                                         4

1                    A P P E A R A N C E S                         1                     E X H I B I T S
2                                                                  2                       (Continued)
3    ON BEHALF OF THE PLAINTIFF:                                   3    Number                                        Page
4              Christopher J. Regan, Esquire                       4    Exhibit 10     Station Overrun Report,          5
5              Regan, Zambri & Long, PLLC                          5                   4/28/19
6              1919 M Street, N.W., Suite 350                      6    Exhibit 11     RTRA Training Request Form       5
7              Washington, D.C. 20036                              7    Exhibit 12     Investigation Report             5
8              (202) 463-3030                                      8    Exhibit 13     E-Mail, Bumbry to Alston         5
9              cregan@reganfirm.com                                9                   and others, 2/26/19
10                                                                 10 Exhibit 14       Trains Certification Result      5
11 ON BEHALF OF THE DEFENDANT:                                     11 Exhibit 15       Standard Operating Proceduce    5/13
12             Brendan H. Chandonnet, Esquire                      12                  Nos. 40.5 and 50.5
13             Nicholas L. Phucas, Esquire                         13 Exhibit 16       Washington Post Article,        5/62
14             Washington Metropolitan Area Transit                14                  6/26/18
15             Authority                                           15
16             Office of General Counsel                           16
17             300 7th Street, S.W.                                17
18             Washington, D.C. 20004                              18
19             (202) 962-1234                                      19
20             bchandonnet@wmata.com                               20
21                                                                 21
22                                                                 22




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                              Transcript of Keisha Simone Henry, Designated Representative                     2 (5 to 8)

                                                     February 9, 2023
                                                                 5                                                          7
1                  P R O C E E D I N G S                             1      Q. Okay. And before that time, what were
2              (Whereupon, WMATA Deposition Exhibits 1               2 you doing?
3    through 16 were premarked electronically for
                                                                     3      A. I was assistant superintendent for
4    identification.)
                                                                     4 Brentwood rail division.
5              THE COURT REPORTER:    Will counsel please
                                                                     5      Q. Also with WMATA?
6    stipulate that in lieu of formally swearing in the
7    witness in person, the reporter will instead ask
                                                                     6      A. Yes.
8    the witness to acknowledge that their testimony
                                                                     7      Q. Before that -- how long were you in that
9    will be true under the penalties of perjury and
                                                                     8 position?
10 that counsel will not object to the admissibility                 9      A. Two years.
11 of the transcript based on proceeding in this way.                10 Q. And before that -- well, broadly
12             MR. REGAN:    On behalf of the plaintiff,             11 speaking, what were your job responsibilities in
13 yes.                                                              12 that position?
14             MR. CHANDONNET:    I'm fine with that.                13 A. I assisted the superintendent with the
15             MR. PHUCAS:    That's fine.                           14 day-to-day operations of the rail divisions.
16                  KEISHA SIMONE HENRY
                                                                     15 Q. How many rail divisions are there at
17
                                                                     16 WMATA?
18         having been satisfactorily identified
19          and duly sworn by the Notary Public,
                                                                     17 A. Ten.
20         was examined and testified as follows:
                                                                     18 Q. Got it. So before you were the
21
                                                                     19 assistant supervisor for the Brentwood rail
22          EXAMINATION BY COUNSEL FOR PLAINTIFF                     20 division, what were you doing for work?
                                                                     21 A. I was still with WMATA as a rail
                                                                     22 operations supervisor.
                                                                 6                                                          8
1 BY MR. REGAN:                                                      1     Q. Okay.
2      Q. Good afternoon, Ms. Henry.                                 2     A. Mm-hmm.
3      A. Good afternoon.                                            3     Q. And how long were you doing that?
4      Q. We met a little bit off the record.                        4     A. About three years.
5 Again, my name is Chris Regan and I represent the                  5     Q. Let me ask you this: When did you first
6 plaintiff, Carol Scott, in this case.                              6 start working for WMATA?
7         Would you please state your full name                      7     A. August 22, 2005.
8 for the record?                                                    8     Q. What was your first job with WMATA?
9      A. Keisha Simone Henry.                                       9     A. Bus operator.
10 Q. And what's your current business                               10 Q. All right. Can you just big-picture
11 address, Ms. Henry?                                               11 walk us through your progression from bus operator
12 A. It is 3500 Pennsy Drive, Landover,                             12 up to, well, where we just left off, rail ops
13 Maryland.                                                         13 supervisor?
14 Q. Ms. Henry, I take it you currently work                        14 A. Okay, 2005 until 2007, I was a bus
15 for WMATA.                                                        15 operator. 2007 until 2013, I was a train
16 A. Yes.                                                           16 operator. 2013 until 2016, I was a rail
17 Q. What's your job title?                                         17 operations supervisor. 2016 to 2019, I was
18 A. Supervisor, road transportation                                18 assistant superintendent of Brentwood division,
19 training.                                                         19 and from 2019 up until now, I am supervisor, rail
20 Q. How long have you worked in that                               20 transportation training.
21 position?                                                         21 Q. Got it. What are your job
22 A. Three years.                                                   22 responsibilities in your current role?
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                     Transcript of Keisha Simone Henry, Designated Representative                 12 (45 to 48)

                                            February 9, 2023
                                                   45                                                           47
1 what the other five pages are?                         1 am I understanding that right?
2      A. Not offhand, no.                               2      A. Yes.
3      Q. This version says it was approved              3      Q. Next one down, "Repositioning train."
4 9/24/18. Do you know what the version either           4 It says, "Attention, customers. This train will
5 immediately before then or the one in effect now       5 move forward. Please hold on." See that?
6 looked like?                                           6      A. Yes.
7      A. No.                                            7      Q. Again, I don't want to ask obvious
8      Q. Okay. Let's take a look at this table          8 questions too much, but what's going on there?
9 then on page 2 of Exhibit 15.                          9      A. If the train stops short on the platform
10 A. Mm-hmm.                                            10 and the operator has to reposition the train, to
11 Q. So when train is berthing on platform,             11 announce to customers -- they make that
12 of course, this references 50.5.1.5, which has not    12 announcement to customers that the train will be
13 been provided to us here; right? Do you see that?     13 moving forward.
14 A. Yeah.                                              14 Q. Got it.
15 Q. Do you know what SOP 50.5.1.5 is?                  15 A. So they can hold on if they need to.
16 A. I can't say what it -- it's not in front           16 Q. Okay.
17 of me, so no, I don't know what it says.              17        MR. CHANDONNET: Chris, how much longer
18        MR. REGAN: Brendan, I'm going to               18 do you have left because I need to let the next
19 request we get all the pages and all the versions     19 deponent know that we're still alive.
20 for these two SOPs.                                   20        MR. REGAN: Probably ten minutes.
21        MR. CHANDONNET: I will review that and         21        MR. CHANDONNET: Can we take a quick
22 get back to you.                                      22 restroom break then?
                                                   46                                                           48
1 BY MR. REGAN:                                          1          MR. REGAN: Yep.
2      Q. Let's look at, "Entering next station."        2          (Whereupon, a recess was taken.)
3 It says, "When train is berthing on platform, the      3 BY MR. REGAN:
4 standard baseline announcement"; what's a standard     4       Q. Ms. Henry, on the last sort of topics I
5 baseline announcement?                                 5 wanted to ask you a little bit about is going back
6      A. The announcement that the operator makes 6 to sort of train positioning on the platform and
7  to the customers on the train.                        7 what Metro's policies or standard operating
8      Q. And so the operators are supposed to           8 procedures were for that as of September 2019.
9 say, "This is [station name]," whatever station it     9          We talked a little bit about eight-car
10 is. "Doors will open on [whichever side they open     10 trains versus six-car trains, et cetera, but
11 on]"?                                                 11 what's a station overrun?
12     A.   Yes.                                         12 A. A station overrun is when a train
13 Q. All right. And that's -- so when it                13 overshoots the platform.
14 says, "When training is berthing on platform,"        14 Q. In other words, it goes past to where
15 does it -- where precisely is the train position      15 it's supposed to come to a stop; right?
16 when that announcement is made or does it matter?     16 A. Past the end of platform, yes.
17     A.   Well,  it says  as  the -- while entering    17 Q. Got it. Fair to say, those are a pretty
18 the station, while the train is going down to         18 big deal? Tell you what, that's not a helpful
19 berth to the eight-car marker.                        19 question.
20 Q. It's sort of when the front of the train           20         MR. CHANDONNET: I agree.
21 has just begun entering the station and before it     21         MR. REGAN: I'll withdraw that question.
22 comes   to a stop,  that's the standard announcement; 22      Q.  WMATA has a special form that it uses to
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                     Transcript of Keisha Simone Henry, Designated Representative               13 (49 to 52)

                                            February 9, 2023
                                                  49                                                       51
1 track station overruns; right?                        1 that, I was a supervisor so no. Rail operations
2         MR. CHANDONNET: Objection to any              2 supervisor.
3  questions  about station overruns. You can answer.   3      Q. That was from 2013 to 2016?
4 To the extent there is a question pending.            4      A. Yes.
5 BY MR. REGAN:                                         5      Q. So the five-second rule was adopted
6      Q. Ms. Henry, WMATA has a special form that      6 sometime between 2013 and 2016.
7 it uses just to track station overruns; correct?      7      A. I remember telling operators when I
8      A. There is a form that the operator fills       8 dispatched trains about the five-second rule.
9 out when they have an overrun.                        9      Q. That was in that position as a rail
10 Q. Go ahead.                                         10 operations supervisor?
11 A. There's a process that happens after the          11 A. Yes, the exact date, I cannot tell you
12 overrun.                                             12 that, but I remember telling operators about the
13 Q. Yeah, and WMATA keeps track of those              13 five seconds.
14 forms, they keep a tally every year?                 14 Q. So at least by 2016 -- you'd be
15 A. I wouldn't have knowledge to that. The            15 comfortable saying that by at least 2016, WMATA
16 numbers and how they keep it, no.                    16 had adopted the five-second rule?
17 Q. Okay.                                             17 A. Yeah.
18 A. Mm-hmm.                                           18 Q. All right. So by September 2019, three
19 Q. Do you know how many times a year                 19 years later, fair to assume that all train
20 station overruns happen?                             20 operators should have been familiar with it?
21 A. No, I do not.                                     21 A. By 2019, yes.
22 Q. Not even ballpark; could be tens, could           22 Q. All right. And actually, all passengers
                                                  50                                                       52
1 be hundreds, could be thousands?                      1 were pretty familiar with it, yeah?
2      A. I don't know.                                 2          MR. CHANDONNET: Objection.
3      Q. When was the five-second rule first           3 BY MR. REGAN:
4 adopted?                                              4      Q. You can go ahead. Let me ask you this:
5      A. I can't give you an exact timeframe or a      5 Am I understanding you correctly for at least
6 date. I just know that it was, it was implemented     6 three years, it could be a lot more than that, but
7 as the stopping procedure when you're in manual       7 you're comfortable saying at least three years,
8 mode, taking that time to look out the window five    8 2016 to 2019, that every single train all day long
9 seconds to verify that you are properly berthed on    9 on WMATA's system is operating under the
10 the platform.                                        10 five-second rule, with the small exception of
11 Q. Got it. I think we agreed that WMATA              11 however many trains they tested on the red line
12 kind of switched the system over to manual mode in   12 with auto doors, but every other train for at
13 late 2009; is that right?                            13 least three years is following the five-second
14 A. Immediately after the accident, WMATA             14 rule; right?
15 went to manual mode.                                 15         MR. CHANDONNET: Objection. You can
16 Q. Right. So from your answer, would it be           16 answer.
17 fair to understand that, it's your belief anyway,    17 A. Yes, the -- yes, they were told.
18 that WMATA adopted the five-second rule shortly      18 BY MR. REGAN:
19 after it switched everybody to manual mode?          19 Q. "They" being train operators?
20 A. No, it wasn't right after.                        20 A. Yes, train operators were instructed to
21 Q. Okay. Was it within a year?                       21 do that whenever they left the end-of-the-line
22 A. No, no, because when they implemented             22 terminal, supervisor, as they dispatched the
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                     Transcript of Keisha Simone Henry, Designated Representative              16 (61 to 64)

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                                                   61                                                     63
1 sample. They're taken out of service.                 1 why don't you just take a second and read that and
2      Q. Urine sample, I assume, to make sure          2 let us know when you're done. All right?
3  drugs   or alcohol didn't contribute to the event?   3      A. Okay.
4      A. Right.                                        4         Okay, I'm done.
5      Q. Is there anything else that's                 5      Q. All right. Let me ask you first: Is
6 automatically triggered pursuant to WMATA             6 there anything in that that jumps out as just
7 protocols and procedures by a station overrun         7 wrong to you, any sentence?
8 report?                                               8      A. This is a news article. It was written
9      A. I'm not quite sure what you mean by           9 by someone that does not work for WMATA.
10 "automatically triggered."                           10 Q. I understand that; right?
11 Q. Yeah, you know, I think in some jobs if           11 A. Uh-huh.
12 you come in late to work one day, you                12 Q. I can take a photograph of my house and
13 automatically have to go talk to HR; right? If       13 you can take a photograph of my house, I live
14 you come in late to work two days, then, you know,   14 there, but you could still say it's probably a
15 you might get something in your file. You come       15 good photo of my house; right?
16 into work three days, and you might get suspended.   16 A. Mm-hmm.
17         I don't know, but is there anything          17 Q. What I'm curious about is: Is there
18 built into the system like that for WMATA with       18 anything in this that's inaccurate?
19 respect to station overruns or is it                 19 A. The sentence about, "An operator
20 discretionary, left to the supervisors?              20 couldn't back up without walking through all the
21 A. It's discretionary after investigation            21 cars and running the train the other way from the
22 because not all station overruns are operator        22 cab at the other end."
                                                   62                                                     64
1 fault.                                                1      Q. Okay.
2      Q. Got it. Do you know who Dan Stessel is?       2      A. "Even if they were to try, the system
3      A. No.                                           3 would shut down to prevent the train from going
4      Q. On the screen is Exhibit -- no longer         4 the wrong way." What does that mean?
5 15, that's Exhibit 16.                                5      Q. Oh, well, I was hoping you were going
6          (Introduced Exhibit 16)                      6 tell me what's wrong with that. You're saying
7 BY MR. REGAN:                                         7 you're not sure what it means?
8      Q. It's a Washington Post article, or            8      A. Doesn't looks like it's written based on
9 Washington Post Express maybe, called, "DC Rider's    9 facts.
10 Answer Line: What's with the Metro lurch." Do        10     Q. Okay. What's inaccurate about that
11 you see that?                                        11 summary?
12 A. I see it.                                         12     A. I'm trying to figure out what does it
13         MR. CHANDONNET: Object to the form.          13 mean that "the system would shut down to prevent
14 BY MR. REGAN:                                        14 the train from going the wrong way." I don't know
15 Q. The question pitched at the top is:               15 what that means.
16 "Today we're curious about why trains come to a      16     Q. When station overrun happens, WMATA
17 stop at a station and then lurch forward a few       17 standard operating procedures, protocols, whatever
18 inches or feet. What difference does it make?"       18 we want to call them, anything else, is the
19 This has the date June 26, 2018; right? See that?    19 operator ever allowed to back that train up to the
20 A. Yes.                                              20 platform?
21 Q. All right. And then I think you can see           21     A. An operator will never back a train up.
22 the full article on this screen, so if you want,     22     Q. Because WMATA standard operating
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                      Transcript of Keisha Simone Henry, Designated Representative                  17 (65 to 68)

                                             February 9, 2023
                                                        65                                                     67
1 procedures absolutely do not allow that any time           1      A. They could, if they're not paying
2 since the Fort Totten incident; correct?                   2 attention, they could get hurt. Most times,
3       A. It has always been WMATA's procedure              3 people feel the train stop so they automatically
4 that a train is not to back up on the platform.            4 get up thinking the doors are going to open.
5 Trains are not allowed to go in reverse.                   5 BY MR. REGAN:
6       Q. So if a train operator overshoots,                6      Q. Coming back to this -- I guess we just
7 overruns the station platform --                           7 said if the train overshoots a platform, it's
8       A. Uh-huh.                                           8 trouble; right? There's paperwork, the operator's
9       Q. -- they cannot back the train up; right?          9 taken off the system for the day, the train is
10 Not allowed?                                              10 inspected for any mechanical malfunctions; right?
11 A. Exactly.                                               11 It's a big mess and the whole line is clogged up,
12 Q. Okay. How about here, the next                         12 by the way, right, because it takes a couple
13 paragraph where I've highlighted two sentences for        13 minutes to get everybody off the train or take
14 you. Is it accurate to say, I mean, would that            14 them to the next station; is that a fair summary?
15 have been WMATA's guidance to its train operators         15         MR. CHANDONNET: Objection. You can
16 as of 2019, that it's better for a train to stop a        16 answer.
17 little bit short than too far at a station?               17 A. When there's a station overrun and the
18 A. If you stop too short, your back end                   18 train cannot be serviced, once the operator
19 will be off the platform. It's still the issue.           19 contacts ROCC and lets them know they had a
20 Q. Right.                                                 20 station overrun, ROCC would probably instruct them
21 A. Have to be perfectly on the platform                   21 to continue on to the next station so he can drop
22 before you open the doors.                                22 off the customers, so that the train can be
                                                        66                                                     68
1      Q. If you stop short, are you allowed to              1 removed from service, as well as the operator, and
2 move the train forward again?                              2 taken to the nearest yard for an investigation.
3      A. You're allowed to reposition the train             3 BY MR. REGAN:
4 until you're properly berthed.                             4      Q. Got it. And then conversely, when
5      Q. That's with that warning, you must give            5 there's a short stop, so the train stops before
6 the verbal warning that's set forth in SOP                 6 the point at which it's supposed to stop on the
7 50-point-something that we looked at earlier;              7 platform, it's really no big deal; right?
8 right?                                                     8         The operator has to warn the passengers
9          MR. CHANDONNET: Objection.                        9 that she's about to move again, but then she can
10 BY MR. REGAN:                                             10 go ahead and move the train to where it's supposed
11 Q. Alerting the passengers that you're                    11 to be. There's no paperwork, she's not suspended
12 going to move the train so they don't get hurt;           12 for the day, the train doesn't go get inspected at
13 right?                                                    13 the yard; right?
14         MR. CHANDONNET: Objection.                        14        MR. CHANDONNET: Objection.
15 A. Yeah, according to 50.5, yes.                          15 A. Yeah, that's correct.
16 BY MR. REGAN:                                             16 BY MR. REGAN:
17 Q. And that is the purpose, by the way;                   17 Q. So is it accurate, looking back at
18 right? I think you said the purpose was so they           18 Exhibit 16, that WMATA's procedures at the time --
19 can hold on. The worry is they're going to get            19 WMATA would have advised its train operators, such
20 hurt if they're not warned about what's happening;        20 as the woman operating the train on which
21 right?                                                    21 Ms. Scott was injured, that it's a lot better to
22         MR. CHANDONNET: Objection.                        22 stop a little short than to go too far on the
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                     Transcript of Keisha Simone Henry, Designated Representative                   20 (77 to 80)

                                            February 9, 2023
                                                    77                                                         79
1      A. How close to the eight-car marker?             1 your time. Sorry it took a little longer than
2      Q. Yes, ma'am.                                    2 expected, but those are all the questions I have
3      A. They have to be right in line, right --        3 for you.
4 the eight-car marker is underneath, well, right        4        (Whereupon, the deposition concluded at
5 there. They have to stop right there at the --         5        2:47 p.m.)
6 they have to be right there.                           6
7      Q. Like within a -- are we talking within a       7
8  foot, or within 10 feet or --                         8
9      A. No. You have -- if you're looking at           9
10 the eight-car marker, you're not fully on the         10
11 platform. You have to be aligned with that            11
12 eight-car marker.                                     12
13 Q. So like dead on it, essentially?                   13
14 A. Right.                                             14
15 Q. Okay. And so coming back -- I mean,                15
16 Exhibit 16 may or may not help with it, but at        16
17 least according to Mr. Stessel -- well, according     17
18 to the author of this Washington Post article,        18
19 according to Mr. Stessel, all trains at that          19
20 point -- strike that.                                 20
21        All the trains operating at that point         21
22 are supposed to stop at the eight-car marker;         22
                                                    78                                                         80
1 right?                                                 1     CERTIFICATE OF REPORTER - NOTARY PUBLIC
2     A. According to the person who wrote the           2
3 article that's quoting a WMATA employee?               3        I, Cynthia Powers, the officer before
4     Q. Yeah, well, okay. So forget the                 4  whom   the foregoing deposition was taken, do hereby
5 article.                                               5 certify that the foregoing transcript is a true
6          We agree that as of that point in time,       6 and correct record of the testimony given; that
7 as of September 2019, every train on the WMATA         7 said testimony was taken by me and thereafter
8 system was supposed to be stopping on the              8 reduced to typewriting under my direction; that
9 eight-car marker; right?                               9 reading and signing was not requested; and that I
10 A. Yes.                                               10 am neither counsel for, related to, nor employed
11 Q. And so if they blew past the eight-car             11 by any of the parties to this case and have no
12 marker by half a car --                               12 interest, financial or otherwise, in its outcome.
13 A. Mm-hmm.                                            13       IN WITNESS WHEREOF, I have hereunto set
14 Q. -- it's a station overrun, there's                 14 my hand and affixed my notarial seal this 20th day
15 paperwork, they're done for the day, the train is     15 of February, 2023.
16 inspected, it's going in their record; right?         16
17 A. Mm-hmm.                                            17 My Commission Expires: February 29, 2024
18 Q. If they're a half a car short of the               18
19 eight-car marker, nothing happens except they have    19
20 to move the train forward again; right?               20
21 A. Yes, to the eight-car marker.                      21 ________________________________
22         MR. REGAN: Ms. Henry, thank you for           22 Cynthia Powers
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